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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION



Cristy Bunker                             §
                                          §
versus                                    §            Case Number: 4:16−cv−02573
                                          §
PCP for Life, PA, et al.                  §

                            Notice of Reassignment

       Pursuant to General Order No. 2018−10, this case is reassigned to the docket of
United States District Judge Andrew S Hanen. Deadlines in scheduling orders remain
in effect


Date: July 13, 2018
                                                              David J. Bradley, Clerk
